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                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                      ORLANDO DIVISION

   UNITED STATES OF AMERICA, ex rel.
   BARBARA BERNIER; BARBARA
   BERNIER; and ESE LOVE

                   Plaintiffs,
                                                        Case no. 6:16-CV-00970-RBD-TBS
                   v.

   INFILAW CORPORATION; CHARLOTTE
   SCHOOL OF LAW, LLC; AMERICAN BAR
   ASSOCIATION, d/b/a COUNCIL OF THE
   SECTION OF LEGAL EDUCATION AND
   ADMISSIONS TO THE BAR; and
   AMERICAN BAR ASSOCIATION, d/b/a
   ACCREDITATION COMMITTEE OF THE
   SECTION OF LEGAL EDUCATION AND
   ADMISSIONS TO THE BAR

                   Defendants.


             ABA DEFENDANTS’ UNOPPOSED MOTION FOR LEAVE TO FILE
                  REPLY BRIEF IN SUPPORT OF MOTION TO DISMISS

            Defendants American Bar Association Council of the Section of Legal Education and

   Admissions to the Bar (the “Council”), and American Bar Association Accreditation

   Committee of the Section of Legal Education and Admissions to the Bar (the “Committee”)

   (collectively “the ABA”), hereby seek leave pursuant to Local Rule 3.01(d) to file an eight-

   page reply brief in support of their motion to dismiss. In support of this motion, the ABA

   states the following:

            1.     On May 31, 2018, the ABA moved to dismiss the Second Amended

   Complaint for lack of personal and subject matter jurisdiction under Federal Rules of Civil




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   Procedure 12(b)(1) and 12(b)(2), for failure to state a claim under Federal Rule 12(b)(6), and

   for failure to comply with the Court’s Case Management and Scheduling Order. See ECF No.

   88.

            2.         On June 14, 2018, Plaintiffs filed their response in opposition to the motion to

   dismiss. ECF No. 97 (“Opp. Br.”).

            3.         Should the Court permit, the ABA’s reply brief will respond to and identify

   critical errors in Plaintiffs’ arguments, including:

                     a.        Plaintiffs critique the ABA for failing to submit evidence in support of

                 its personal jurisdiction arguments, but there is no requirement that the ABA do so

                 until Plaintiffs make a prima facie showing that personal jurisdiction exists.

                 Madara v. Hall, 916 F.2d 1510, 1514 (11th Cir. 1990). Plaintiffs’ bare assertion that

                 the ABA’s contacts with Florida are “continuous and systematic” because it collects

                 “substantial fees” from law schools in the state fails to make even a prima facie

                 showing that general personal jurisdiction exists under the Supreme Court’s

                 decision in Daimler AG v. Bauman, 571 U.S. 117, 137–139 & n.19 (2014); see also

                 Wolf v. Celebrity Cruises, Inc., 683 F. App’x 786, 791 (11th Cir. 2017). (general

                 jurisdiction over an out-of-state corporation exists only in “the exceptional case”).

                     b.        To make a prima facie showing that specific personal jurisdiction

                 exists, Plaintiffs must allege injuries “aris[ing] out of or relat[ing] to at least one of

                 the defendant’s contacts with the forum.” Aviation One of Fla., Inc. v. Airborne Ins.

                 Consultants (PTY), Ltd, No. 16-16187, 2018 WL 359998, at *6 (11th Cir. Jan. 11,

                 2018) (internal quotation and citation omitted). Plaintiffs’ opposition does not even




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                 try to connect the ABA’s Florida contacts with Plaintiffs’ purported injuries.

                 Instead, Plaintiffs point to the contacts of InfiLaw personnel Dennis Archer and Jay

                 Conison with the state. Opp. Br. 11. Although Archer and Conison at one time sat

                 on the Section of Legal Education and Admission to the Bar, Plaintiffs do not allege

                 that Archer or Conison had any involvement with the ABA’s decisions regarding

                 Charlotte School of Law (“CSL”) that are at issue in this case. Plaintiffs also

                 contend that specific personal jurisdiction exists because InfiLaw controlled CSL,

                 and so when the ABA was “interfac[ing]” with CSL personnel, it was really

                 interacting with InfiLaw, which is headquartered in Florida. Id. Yet the Second

                 Amended Complaint contains no allegation, suggestion, or hint that the ABA

                 “interfaced” with CSL or InfiLaw in the state of Florida, and such interfacing

                 would not suffice to establish specific jurisdiction in any event.

                     c.        The Court should reject Plaintiffs’ attempt to twist the voluntary

                 undertaking doctrine and Higher Education Act (“HEA”) into a cognizable tort

                 claim. Every jurisdiction in which courts have rejected negligent accreditation

                 claims recognizes the voluntary undertaking doctrine, yet none has ever held that

                 the doctrine gives rise to a claim for negligent accreditation. Plaintiffs cannot solve

                 that problem by relying on the HEA, since courts have uniformly held that there is

                 no private right of action to enforce the HEA. See, e.g., Hiwassee Coll., Inc. v. S.

                 Ass'n. of Colleges & Sch., Inc., No. CIV.A. 1:05-CV-0951-, 2007 WL 433098, at

                 *18 (N.D. Ga. Feb. 5, 2007) (citing McCulloch v. PNC Bank Inc., 298 F.3d 1217,

                 1221 (11th Cir. 2002)).




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            4.     The ABA has stated good cause for leave to reply in order to allow the ABA

   to respond to what Defendants submit are misstatements of fact and misapplication of law

   raised by Plaintiff's memorandum in opposition. See, e.g. Ottaviano v. Nautilus Insurance

   Company, 2009 WL 425976 (M.D. Fla. Feb. 19, 2009).

            5.     The ABA requests leave to file a eight-page reply brief to explain these points,

   and identify other errors in Plaintiffs’ opposition. Further, should the Court grant this motion,

   the ABA requests that it be given ten days from the date of the Court’s order to file the brief.

                    LOCAL RULE 3.01 CERTIFICATE OF CONFERRAL
            Undersigned counsel has conferred with counsel for Plaintiffs, who indicated that

   Plaintiffs do not oppose the relief requested.

   Dated: June 21, 2018                                  Respectfully submitted,

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                                     CERTIFICATE OF SERVICE

            I hereby certify that on June 21, 2018, I electronically filed the foregoing paper with

   the Clerk of the Court using the ECF system, which will send notification of such filing to all

   counsel of record in this case.


                                                          /s/ Johanna W. Clark       .
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